            Case 1:21-cr-00107-RDM Document 23-1 Filed 03/09/21 Page 1 of 13


Id 18144128794127789
Date Created 2021-01-06 23:01:48 UTC
Text @j                that’s the truth, believe what you want I WAS FJERE
Media Content: Id
2480948545860340374
Media Owner Bruno Cua 🇺🇺🇺🇺 (25004858189)
Id 17943811531423152
Date Created 2021-01-06 23:03:30 UTC
Text @          It’s patriots who WERENT THERE assuming that it was antifa. I assure you it
was not antifa, it was millions of pissed off patriots willing to die for their president
and their country
Media Content: Id
2480948545860340374
Media Owner Bruno Cua 🇺🇺🇺🇺 (25004858189)
Id 17950046686405948
Date Created 2021-01-06 23:01:08 UTC
Text @                         it wasn’t antifia, we beat antifa and took their weapons
Id 17878748822029379
Date Created 2021-01-06 22:18:41 UTC
Text We stormed the building my friend...we stormed INTO THE HOUSE
Media Content Id
Media Owner
Id 17867041586304269
Date Created 2021-01-07 17:27:15 UTC
Text Exactly, this was a constitutionally protected right. We did not attack the citizens, we
attacked the corrupt government. Consider this the beginning of the second
Revolution.
Media Content Id

Media Owner
Id 17900819515694048
Date Created 2021-01-08 02:46:17 UTC
Text @               Maybe so, even against us there are so many of us and we are armed.
Media Content Id 2481728012958306370
Media Owner Bruno Cua 🇺🇺🇺🇺 (25004858189)
Id 17867790659277701
Date Created 2021-01-08 02:41:03 UTC
Text @               I agree with most of what you say, we absolutely need to win the
information war. the national guard and military wouldn’t be against us in. Real war.
They are to protect us not harm. There were more people in DC yesterday then the
entire US military. Either way, 80,000,000 heavily armed patriots via 2nd amendment
are one hell of a match for any law enforcement deployed on us. Together we can
easily overthrow tyranny
Media Content Id 2481728012958306370
Media Owner Bruno Cua 🇺🇺🇺🇺 (25004858189)
            Case 1:21-cr-00107-RDM Document 23-1 Filed 03/09/21 Page 2 of 13


Id 17879063857946581
Date Created 2020-12-12 14:50:45 UTC
Text Peaceful protests aren’t working. It’s time to fight.
Media Content
Id
Media Owner

Id 17859504446373509
Date Created 2021-01-06 01:31:47 UTC
Text If they start throwing bricks then we will start throwing bricks, much harder 🤷🤷 ♂️
Media Content Id
Media Owner
Id 18136222405135280
Date Created 2021-01-06 01:39:12 UTC
Text Thank God, time to get aggressive
Media Content Id
Media Owner
Id 17854758710483874
Date Created 2021-01-06 22:21:26 UTC
Text HELL NO IT WASNT ANTIFA! It was patriots and we stormed in. WE ARE FIGHTING
Media Content Id
Media Owner
Id 17943612820427155
Date Created 2021-01-07 22:05:33 UTC
Text Couldn’t agree with you more. Thanks for not being a loser Republican preaching
“1776” then acting shocked when it actually happens
Media Content Id
Media Owner
Id 17933852911443909
Date Created 2020-12-23 22:30:31 UTC
Text Yes, wether it’s through a congressional vote or the insurrection act, he will win. If he
doesn’t, it’s freaking war. Starting January 6th. War against communism. Live free or
die.
Media Content Id
Media Owner
Id 17893400350786100
Date Created 2021-01-06 22:24:04 UTC
Text It’s not wrong, we warned them peacefully at the million Maga March Nov 14th. THEY
DIDNT LISTEN!
Media Content Id
Media Owner
Id 17940040447429491
Date Created 2020-12-30 03:52:54 UTC
Text AN ARMY IS COMING TO DC
Media Content Id
Media Owner
Case 1:21-cr-00107-RDM Document 23-1 Filed 03/09/21 Page 3 of 13
            Case 1:21-cr-00107-RDM Document 23-1 Filed 03/09/21 Page 4 of 13


Author bruno_cua1776 (Instagram: 25004858189)
Sent 2020-12-23 01:22:47 UTC
Body: I don’t know, I really don’t know anything all I know is I’m gonna
love free or die whatever it takes
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2020-12-23 01:27:49 UTC
Body: Scary times for sure, this is our 1776. I just hope everyone will
stand up when it really counts
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-10 22:26:58 UTC
Body: 🙏🙏🙏🙏 keep fighting 🇺🇺🇺🇺 And like trump says, NEVER give up
Author
Sent 2021-01-06 14:12:11 UTC
Body: My dad says we should go into congress with an M16 and kill all of
em
Author
Sent 2021-01-07 02:00:45 UTC
Body: I don’t understand why Trump wants us to back down, we should
be running in there with guns a blazing all over congress. That’s
what our founding fathers would have done.
Author
Sent 2021-01-07 18:10:29 UTC
Body: That’s what I was thinking, we need to march back in there and
shoot ever single person in the da gum capital unless the
surrender.
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-07 18:13:16 UTC
Body: I don’t think he wants us to back down
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-07 18:13:32 UTC
Body: He has to call for peace but he also said “this is what happens
when you steal an election”
            Case 1:21-cr-00107-RDM Document 23-1 Filed 03/09/21 Page 5 of 13

Author bruno_cua1776 (Instagram: 25004858189)
Sent 2020-12-22 19:22:18 UTC
Body: You going Jan 6th?
Author
Sent 2020-12-22 19:32:36 UTC
Body: Idk it’s a Wednesday and I have work
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2020-12-22 19:33:15 UTC
Body: Yeah but this could possibly be one of the most important days in
American history
Author
Sent 2020-12-22 19:54:02 UTC
Body: You think it’s gonna change anything? There’s gonna be a civil war
regardless
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2020-12-22 19:54:21 UTC
Body: Yeah I do because we can storm the freaking senate/house
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2020-12-22 19:54:32 UTC
Body:That’s what I’ve been saying
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2020-12-22 19:54:39 UTC
Body: That’s why I keep saying to bring guns
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2020-12-22 19:54:55 UTC
Body: Holding signs is useless
Author
Sent 2020-12-22 19:55:04 UTC
Body: Exactly. No one listens
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-06 23:45:19 UTC
Body IT WASNT ANTIFA
Author
Sent 2021-01-06 23:45:41 UTC
Body Who was it
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-06 23:46:02 UTC
Body 2,000,000+ pissed off patriots
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2020-12-13 02:50:28 UTC
Body I think there’s going to be a war, could be a civil war or WWIII
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2020-12-13 02:50:35 UTC
Body This is how wars start
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2020-12-13 02:50:37 UTC
Body Tensions build
            Case 1:21-cr-00107-RDM Document 23-1 Filed 03/09/21 Page 6 of 13


Author
Sent 2021-01-06 20:34:34 UTC
Body Im not sure if you’re at the Capitol, or near that area but all prayers
going out for your safety
Be careful out there
I can’t believe this happened
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-06 22:46:19 UTC
Body I’m out, and it’s a good thing
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-06 22:46:26 UTC
Body We are taking our country back by force
Author

Sent 2021-01-07 01:53:47 UTC
Body You know if trump really doesn’t get in because of the traitors all I
can say is he exposed the swamp
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-07 01:54:05 UTC
Body If Trump doesn’t get Im we will be back in DC for a blood bath
Author
Sent 2020-12-14 04:33:05 UTC
Body I can't find the video. They must have sensored it but I heard
Justin Trudeau say it on video back in the early election days. It
might have been prior to the election. Don't worry to much over
there in Georgia, Cali is going to be the battle ground. That's why
they have troops in Las Vagus. Wish us luck!
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2020-12-14 04:33:53 UTC
Body I don’t want to sit here in GA and watch I want to fight 😡😡
Author
Sent 2020-12-14 04:36:01 UTC
Body I get it!!! I'd say the best chance you got is joining the militia.
Beside that our military Intel are telling us to speed the word that
they've got this and for civilians not to get involved.
           Case 1:21-cr-00107-RDM Document 23-1 Filed 03/09/21 Page 7 of 13

Author
Sent 2021-01-05 05:17:38 UTC
Body Safe travels & keep us updated on the caravan! So wish I could be
there
Author
Sent 2021-01-05 16:07:32 UTC
Body What!?! &&& they arrested the leader of the proud boys the
moment he touched down in dc
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-05 18:49:13 UTC
Body Yeah it’s unbelievable
Author
Sent 2021-01-06 20:05:16 UTC
Body Are you at the capital?? This is insane!
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-06 22:11:19 UTC
Body Yes Author
bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-06 22:11:29 UTC
Body We made them wish they were in hell
Author
Sent 2021-01-06 22:13:56 UTC
Body Is it true antifa/blm started it?
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-06 22:14:08 UTC
Body No
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-06 22:14:11 UTC
Body We whipped them tho
Author
Sent 2021-01-06 22:23:02 UTC
Body So they did try to blend in with supporters!? Damn. Everyone is
saying we’re the domestic terrorists now 🙄🙄
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-06 22:38:46 UTC
Body Say what they want
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-06 22:39:05 UTC
Body We didn’t attack the American people we attacked the swamp rats
Author
Sent 2020-12-30 05:10:13 UTC
Body You going to dc on the 6th?
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2020-12-30 05:10:13 UTC
Body Yup, keeps me from gaining any more followers
            Case 1:21-cr-00107-RDM Document 23-1 Filed 03/09/21 Page 8 of 13


Author
Sent 2020-12-30 05:11:04 UTC
Body Keep up the good work dude!!! We’ll get this election overturned
soon👌👌👌👌👌👌👌👌👌👌👌👌👌👌👌👌👌👌👌👌
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2020-12-30 05:11:39 UTC
Body Preciate it, will do! And we don’t have anything to overturn, we
won! Just have to take back what’s ours 🇺🇺🇺🇺
Author
Sent 2020-12-30 05:12:10 UTC
Body Ayyye! That’s right!!! Thank you for correcting me! You’re exactly
right!!!!🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺MAGA
Author

Sent 2021-01-06 22:51:07 UTC
Body As much as I’m furious about this election and we should stand up
for what we believe in, violence is never the answer to anything,
but you are right in that this helped our voices be heard, I just
think there was better ways to go about it.
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-06 22:51:28 UTC
Body HOW?? DID WE ASK FOR FREEDOM IN 1776? Did we hold signs?
Author
Sent 2021-01-06 22:53:58 UTC
Body We stopped them from possibly changing the result in Congress,
it’s only gonna delay it
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-06 22:54:34 UTC
Body If we don’t fight now we won’t get a chance. It’s not or never
Author
Sent 2021-01-06 23:17:36 UTC
Body Even the president is speaking against it, people died dude
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-06 23:28:10 UTC
Body One person was shot by police
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-06 23:29:23 UTC Not really speaking against it.       if you want to keep positing on
your Instagram story until the swamp rats listen, go ahead, but I’m
gonna fight like our founding fathers did. PEACEFUL PROTESTS
DIDNT WORK
           Case 1:21-cr-00107-RDM Document 23-1 Filed 03/09/21 Page 9 of 13


Author
Sent 2021-01-07 18:12:05 UTC
Body tbh cops should have joined in
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-07 18:12:17 UTC
Body That’s what I freaking told them
Author
Sent 2021-01-07 18:12:17 UTC
Body we are literally fighting fo rthem
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-07 18:12:26 UTC
Body One cop was about to cry
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-07 18:12:36 UTC
Body We were screaming at them to join us
 Author
bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-08 01:23:41 UTC
Body Trump or not, our fight against the government is far from over Author bruno_cua1776 (Instagram:
25004858189)
Sent 2021-01-08 01:24:13 UTC
Body I would lay down my life for him but I’m gonna keep fighting
Author
Sent 2021-01-09 03:52:51 UTC
Body I want a civil war at this point
Author
Sent 2021-01-09 03:53:06 UTC
Body Oh wait prob shouldn’t say that they are probably looking at our
dms
Author
Sent 2021-01-09 03:53:23 UTC
Body nvm idc if your looking at this you liberal bastard FUCK YPU
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-09 15:34:22 UTC
Body Idc either I want a bloody war I’m ready to start shooting and I’m
ready to die before I watch America crash and burn
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-09 15:34:27 UTC
Body I’ll be on the front lines Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-09 15:34:43 UTC
Body I want to lock the swamp rat tyrants in the capital and burn the
place to the ground
           Case 1:21-cr-00107-RDM Document 23-1 Filed 03/09/21 Page 10 of 13


Author
Sent 2021-01-11 03:33:43 UTC
Body Deleted my Twitter
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-11 03:33:53 UTC
Body Me too, deactivated my account
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-05 04:39:54 UTC
Body I’ve also gotten a ticket for “noise violation” because of some
liberals gosh didn’t like the flag
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-06 00:37:23 UTC
Body Also, I’m not driving anymore my dad is so Im not busy, Even if I
am though I always try to get back to everyone in my Dm’s !
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-11 04:33:37 UTC
Body I called my cousin in DC he confirmed military is everywhere
Author
Sent 2021-01-06 23:07:56 UTC
Body ?
Author
Sent 2021-01-08 03:22:50 UTC
Body This you?
Author
Sent 2021-01-05 04:41:11 UTC
Body Give em hell in dc!
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-05 04:45:21 UTC
Body YOU KNOW IT! I meant to wait till tmr to respond dangit 😂😂
Author
Sent 2021-01-06 20:02:33 UTC
Body I storming the capitol rn?
Author
Sent 2021-01-06 20:02:39 UTC
Body You*
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-06 22:11:36 UTC
Body Yes
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-06 22:11:42 UTC
Body I did
Author
Sent 2020-12-22 15:04:43 UTC
Body Show up Jan 6. Keep your head up. This is the time to persevere
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2020-12-22 15:04:54 UTC
Body I wouldn’t miss it!
           Case 1:21-cr-00107-RDM Document 23-1 Filed 03/09/21 Page 11 of 13


Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-08 02:37:17 UTC
Body Just so you know, I’m not meaning to sound rude, hard to have
tones over text.
Never ever? So do you condemn the revolutionary war? Do you
disagree with the 2nd amendment? This country was founded
because of political violence, they overthrow the tyrannical
government and won their freedom. Without violence, you
wouldn’t be in this great country. I hope it will become clear to you
what’s at stake, socialism under a Biden administration will drive
this country into the ground.
But let’s agree to disagree. No hard feelings, goodnight. Yeah
hopefully we will see you guys soon it’s been awhile with
everything going on
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-07 17:51:52 UTC
Body I feel you, our entire government is tyrannical. They will never get
better by themselves. We need a Revolution
Author
Sent 2021-01-04 18:12:14 UTC
Body Are you going tonight?
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-04 23:38:00 UTC
Body Nah I gotta drive 10 hours to DC tomorrow
Author
Sent 2020-12-20 14:34:02 UTC
Body I'm with you 100%. If they deny Trump we have to get
violent/destructive. They fear antifa because they are willing to
fight. We better be when it actually counts imo 🇺🇺🇺🇺🇺🇺🇺🇺
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2020-12-20 15:03:36 UTC
Body Yup, I think we’re getting there
Author
Sent 2021-01-06 23:39:04 UTC
Body Fax, , these cuckservatives will talk about taking The moral high
ground while we are in breadlines , this is a WAR on our rights
Author bruno_cua1776 (Instagram: 25004858189) Sent
2021-01-07 00:36:50 UTC
Body YES IT WAS
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-06 23:00:12 UTC
Body I will, don’t want anything in writing right now
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-06 23:00:18 UTC
Body Need to let stuff simmer down
            Case 1:21-cr-00107-RDM Document 23-1 Filed 03/09/21 Page 12 of 13


Author
Sent 2021-01-06 22:53:40 UTC
Body YOUR AMAZING
Author
Sent 2021-01-06 22:54:08 UTC
Body IM GLAD YOU DID, AND I WISH I COULD BE THERE WITH YALL
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-06 23:00:36 UTC
Body We fought like hell brother
Author
Sent 2021-01-04 17:58:09 UTC
Body I hope you and your family are going Bruno! Be LOUD for us who
can’t make it! 🇺🇺🇺🇺🇺🇺🇺🇺🇺🇺🇸🇸 Author
bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-04 18:02:56 UTC
Body Yes my parents and I are going!
Author
bruno_cua (Instagram: 4100690135)
Sent 2020-11-09 01:09:32 UTC
Body I’m trying to find an AR to buy under the table. Know anybody?
Author
Sent 2020-11-09 01:09:38 UTC
Body Lollll
Author
Sent 2020-11-09 01:09:41 UTC
Body Arms list
Author
Sent 2020-11-09 01:10:03 UTC
Body Classified ga gun sales
Author bruno_cua (Instagram: 4100690135)
Sent 2020-11-09 01:10:30 UTC
Body First thing it says is you gotta be 21...but you gotta be 18 to buy a
rifle soooo
Author
Sent 2020-11-09 01:10:34 UTC
Body Or local gun shows
Author bruno_cua (Instagram:
          Case 1:21-cr-00107-RDM Document 23-1 Filed 03/09/21 Page 13 of 13


Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-10 16:07:23 UTC
Body A war
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-10 16:07:30 UTC
Body This is how wars happen
Author
Sent 2021-01-10 16:07:44 UTC
Body Between ?
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-10 16:08:19 UTC
Body The people and the government. Maybe we have to fight the
liberals too I don’t know
Author bruno_cua1776 (Instagram: 25004858189)
Sent 2021-01-10 16:08:33 UTC
Body The capital was the beginning of the revolution I think
Author
Sent 2020-11-04 04:41:31 UTC
Body What about a civil war
Author
Sent 2020-11-04 04:41:59 UTC
Body To much money. We can just use bruno flag money for a bomb
